Case 5:06-cr-04030-MWB-CJW   Document 462   Filed 03/19/07   Page 1 of 6
Case 5:06-cr-04030-MWB-CJW   Document 462   Filed 03/19/07   Page 2 of 6
Case 5:06-cr-04030-MWB-CJW   Document 462   Filed 03/19/07   Page 3 of 6
Case 5:06-cr-04030-MWB-CJW   Document 462   Filed 03/19/07   Page 4 of 6
Case 5:06-cr-04030-MWB-CJW   Document 462   Filed 03/19/07   Page 5 of 6
Case 5:06-cr-04030-MWB-CJW   Document 462   Filed 03/19/07   Page 6 of 6
